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                IN THE UNITED STATES DISTRICT COURT
              FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA                    :   CRIMINAL NO. 1:21-CR-26
                                            :
             v.                             :   (Judge Conner)
                                            :
ROHAN LYTTLE,                               :
                                            :
                    Defendant               :

                                       ORDER

      AND NOW, this 19th day of October, 2021, upon consideration of the court’s

order (Doc. 48) of August 19, 2021, wherein the court found that good cause exists to

allow Andrew Rendeiro, Esquire, and Christopher Wright, Esquire, to withdraw

as counsel to defendant Rohan Lyttle, but further concluded, given continuity of

counsel concerns and the need for an updated financial affidavit to determine

Lyttle’s present eligibility for appointed counsel, that Attorneys Rendeiro and

Wright should not be terminated as counsel of record until Lyttle submits an

updated financial affidavit for the court’s consideration or notifies the court of his

retention of successor counsel or, alternatively, his desire to proceed pro se, and it

appearing that Lyttle has advised Attorneys Rendeiro and Wright that he has since

retained successor counsel, but that nearly two months have passed without new

counsel entering an appearance, it is hereby ORDERED that Lyttle shall appear

before the court on November 5, 2021, at 2:30 p.m., in Courtroom #2, United States

Courthouse and Federal Building, 228 Walnut Street, Harrisburg, Pennsylvania.



                                         /S/ CHRISTOPHER C. CONNER
                                         Christopher C. Conner
                                         United States District Judge
                                         Middle District of Pennsylvania
